Case 3:51-cv-01247-JO-SBC Document1 Filed 01/25/51 PagelD.195 Page i1of1

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g° Mapped, edited, and published by the Geological Survey @ jrrigation or camp supply SCALE 1:24000
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oe Control by USGS and USC&GS . O Unused, domestic or stock Sap rag np gee ME Drainage Divide
? Topography from aerial photographs by multiplex methods )
” Aerial photographs taken 1946. Field check 1948 } Destro ye d 1000 ° 1000 2000 3000 4000 3000 6000 7000 FEET pinemcasaie ¢ Oy,
? Polyconic projection. 1927 North American datum ———
v

10,000-foot grid based on California coordinate system,
zone 6

Dotted fand lines within Santa Margarita y Las Flores
grant were established by private survey

1 Ss o 1 KILOMETER

CONTOUR INTERVAL 20 FEET
DATUM IS MEAN SEA LEVEL '

TRUE NORTH

Dashed fand fines indicate approximate location APPROXIMATE MEAN
DECLINATION, 1948

THIS MAP COMPLIES WITH NATIONAL MAP ACCURACY STANDAROS
FOR SALE BY U.S. GEOLOGICAL SURVEY, DENVER, COLORADO OR WASHINGTON 25, D. C.

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ROAD CLASSIFICATION

HARD-SURFACE ALL WEATHER ROADS DRY WEATHER ROADS
Heavy-duty. Sb ANEID AE improved dirt. . amma
Medium-duty.  . “ANGIE “448 Unimproved dirt sererzzxs
Loose-surface, graded, or narrow hard-surface. .

U. S. Route © State Route

FALLBROOK, CALIF.
N3322.5—W11715/7.5

EDITION OF 1949

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TEMECULA 13 MI.

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